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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION



UNITED STATES OF AMERICA


VS.                          CASE NO. 4:07cr00086-04 JMM


MICHAEL COOPER


                                         ORDER

       On December 9, 2008, defendant appeared and entered a guilty plea to Count 1

of the Superseding Information charging Defendant with possession with the intent to

distribute more than fifty grams of cocaine base, in violation of Title 21 U.S.C. § 841. At

the conclusion of the hearing the Defendant requested that he be released from

custody pending his sentencing hearing, to which the United States did not object. At

the direction of the Court, the United States Probation Office investigated the proposed

residence and Defendant’s criminal history. Based on the findings by the probation

office, the request to be released pending sentencing is denied.

       The Bail Reform Act of 1994, mandates detention for persons found guilty of

crimes encompassed in § 3142(f)(1)(A), (B), and (C) which are, respectively, crimes of

violence, offenses with maximum sentences of life in prison or death, and drug offenses

carrying maximum sentences of ten or more years. See 18 U.S.C. § 3143(a)(2). By

statute, defendant’s sentence must not be less than 10 years and not more than Life.

See 841(b)(1)(A)(iii).

       A person subject to mandatory detention pursuant to § 3143(a)(2) who meets the
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conditions of release set forth in § 3143(a)(2)(A), however, may be ordered released,

under appropriate conditions, by the judicial officer, “if the judicial officer finds by clear

and convincing evidence that the person is not likely to flee or pose a danger to any

other person or the community.” See 18 U.S.C. § 3143(a)(2)(B).

       Defendant has an extensive criminal history which includes convictions involving

drug charges, intimidating a witness, failure to appear and other convictions. Although,

Defendant’s sister would allow Defendant to reside in her house, she is not home

during the day and would not be able to supervise Defendant during this time. The

Court finds that the defendant has not met the requirements set forth in § 3143(a)(2)(A)

and the Court cannot find by clear and convincing evidence that the Defendant is not

likely to flee or pose a danger to the community.

       For these reasons, defendant’s request for release is denied.

       IT IS SO ORDERED THIS 17th day of December, 2008.




                                            James M. Moody
                                            United States District Judge
